868 F.2d 1278
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Margarette M. SIGMAN, Petitioner,v.DEPARTMENT OF the AIR FORCE, Respondent.
    No. 88-3369.
    United States Court of Appeals, Federal Circuit.
    Feb. 15, 1989.
    
      Before EDWARD S. SMITH, PAULINE NEWMAN and ARCHER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The Merit Systems Protection Board (board), in an opinion and order, docket No. AT07528710606, affirmed as modified the board's initial decision, dated October 27, 1987, sustaining the Department of the Air Force's removal of Margarette M. Sigman from her position as a secretary at Robins Air Force Base, Warner Robins, Georgia.  On the basis of its opinion, the order of the board, dated July 8, 1988, is affirmed.
    
    